[Cite as State v. Sain-Dunham, 2024-Ohio-3214.]




                              IN THE COURT OF APPEALS OF OHIO
                                 SECOND APPELLATE DISTRICT
                                    MONTGOMERY COUNTY

 STATE OF OHIO                                         :
                                                       :
        Appellee                                       :   C.A. No. 29955
                                                       :
 v.                                                    :   Trial Court Case No. 2023-CRB-002847
                                                       :
 QUINCE T. SAIN-DUNHAM                                 :   (Criminal Appeal from Municipal Court)
                                                       :
        Appellant                                      :
                                                       :

                                                  ...........

                                                  OPINION

                                    Rendered on August 23, 2024

                                                  ...........

ROBERT ALAN BRENNER, Attorney for Appellant

ALISSA SCHRINER, Attorney for Appellee

                                             .............

HUFFMAN, J.

        {¶ 1} Defendant-Appellant Quince T. Sain-Dunham appeals from his convictions

for violating a protection order and disorderly conduct. For the reasons outlined below,

we affirm the judgment of the trial court.
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                     I.     Factual Background and Procedural History

      {¶ 2} P.D. had resided at an address on West Second Street since 2011; only she

possessed keys to the residence and received the utility bills. Sain-Dunham was a part

owner of the West Second Street property, sharing ownership with P.D. and two other

people.

      {¶ 3} On July 27, 2023, P.D. obtained a civil stalking protection order (CSPO)

under R.C. 2903.214 against Sain-Dunham after two incidents in which he first forced his

way into the West Second Street house and threatened to kill her and later used a crutch

to shove her and then struck her with it. The CSPO ordered Sain-Dunham to: not enter

P.D.’s residence, including the building, grounds, and parking lots; not interfere with

P.D.’s right to occupy the residence; stay away from P.D. and not be present within 500

feet of her wherever she may be or any place that she was likely to be; and not initiate or

have any contact with P.D. or her residence for a period of one year.

      {¶ 4} On July 30, 2023, P.D. returned to the West Second Street property to check

on the house and to collect personal property. When she arrived, she heard Sain-Dunham

talking on the phone at the back of the house, and she called the police. When the police

arrived, P.D. told them that she had a CSPO against Sain-Dunham. The officers found

Sain-Dunham on the back patio surrounded by empty food bags and personal care items.

As officers approached him, Officer Bailey Jones asked Sain-Dunham to put his hands

behind his back, but he refused. Additional officers arrived, and they forcibly put Sain-

Dunham’s arms behind his back and carried him to a cruiser while he was screaming and

using abusive language toward them.
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       {¶ 5} Sain-Dunham was charged with one count of violating a protection order in

violation of R.C. 2919.27(A)(2); one count of disorderly conduct in violation of R.C.

2917.11(A)(2); one count of resisting arrest in violation of R.C. 2921.22(A); and one count

of obstructing official business in violation of R.C. 2921.31. On August 23, 2023, the

matter proceeded to a bench trial.

       {¶ 6} At trial, P.D. testified that, because Sain-Dunham had not stayed away from

the West Second Street property in the past as she had requested, she began staying at

an apartment; she did not feel safe at the house. However, she still paid the bills on the

property and kept her belongings there.

       {¶ 7} Sain-Dunham testified that, despite his being a part owner of the house, he

knew that P.D. lived there, and he never had a key to the home or slept in the home

except on one occasion when he had a locksmith let him inside the house. At some point

following the incidents at the house which led P.D. to seek the CSPO, Sain-Dunham went

to a hospital, but he later returned to the property because he had nowhere else to go

and could not afford to pay rent elsewhere. He claimed that he had tried to comply with

the officers’ orders on the day he was arrested for violating the CSPO, but he simply

moved too slowly because of his medical issues and screamed because he was in pain.

He admitted to yelling rude and abusive statements at the officers but claimed that he

made those statements because the officers wanted to “criminalize” him and were not

giving him consideration. He also admitted that he had been served with the CSPO but

did not believe that it was properly in his name.

       {¶ 8} Officer Jones testified that, after being dispatched to the house and learning
                                                                                       -4-


that P.D. had a protection order against Sain-Dunham, she and her partner approached

the rear of the house and found Sain-Dunham on the back patio. Jones instructed Sain-

Dunham to put his arms behind his back, which he refused to do. Jones then tried to place

Sain-Dunham’s left arm behind his back, but he resisted. Sain-Dunham suggested to

Jones that he lived there but that he had the protection order paperwork.

      {¶ 9} The trial court also heard several sections of the responding officers’ body

camera footage and cruiser camera footage in which Sain-Dunham was heard yelling at

the officers and using profanity and abusive language toward them.

      {¶ 10} The trial court found Sain-Dunham guilty of violating a protection order and

disorderly conduct but not guilty on the other two charges. He appeals.

                                II.    Assignments of Error

      {¶ 11} Sain-Dunham asserts the following sole assignment of error:

             SAIN-DUNHAM’S CONVICTIONS ARE AGAINST THE MANIFEST

      WEIGHT OF THE EVIDENCE.

      {¶ 12} Sain-Dunham was charged with violating a protection order under R.C.

2919.27(A)(2), which states:

      No person shall recklessly violate the terms of any of the following:

      ...

      (2) A protection order issued pursuant to section 2151.34, 2903.213,

      or 2903.214 of the Revised Code;

He was also charged with disorderly conduct under R.C. 2917.11(A)(2), which provides:

      No person shall recklessly cause inconvenience, annoyance, or alarm to
                                                                                             -5-


        another by doing any of the following:

        ...

        (2) Making unreasonable noise or an offensively coarse utterance, gesture,

        or display or communicating unwarranted and grossly abusive language to

        any person;

“A person acts recklessly when, with heedless indifference to the consequences, the

person disregards a substantial and unjustifiable risk that the person’s conduct is likely to

cause a certain result or is likely to be of a certain nature. A person is reckless with respect

to circumstances when, with heedless indifference to the consequences, the person

disregards a substantial and unjustifiable risk that such circumstances are likely to exist.”

R.C. 2901.22(C).

        {¶ 13} Sain-Dunham contends that his convictions for violating a protection order

and disorderly conduct were against the manifest weight of evidence. First, he argues

that he did not violate the CSPO when he was on the back patio of the West Second

Street property because he is a part owner of the property and believed that P.D. was no

longer there. Second, he contends that his conduct was not disorderly but, rather, he was

just moving slowly due to his medical issues and was screaming because of his chronic

pain.

        {¶ 14} A manifest weight of the evidence argument challenges the believability of

the evidence and asks which of the competing inferences suggested by the evidence is

more believable or persuasive. State v. Wilson, 2009-Ohio-525, ¶ 12 (2d Dist.), citing

State v. Hufnagel, 1996 WL 501470 (2d Dist. Sept. 6, 1996). “[W]hen reviewing an
                                                                                        -6-


argument challenging the weight of the evidence, an appellate court reviews the entire

record, weighs the evidence and all reasonable inferences, considers the credibility of

witnesses, and determines whether, in resolving conflicts in the evidence, the finder of

fact clearly lost its way and created such a manifest miscarriage of justice that the

conviction must be reversed and a new trial ordered.” State v. Sheeders, 2019-Ohio-

3120, ¶ 28 (2d Dist.), citing State v. Thompkins, 78 Ohio St.3d 380, 387 (1997),

quoting State v. Martin, 20 Ohio App.3d 172, 175 (1st Dist. 1983).

      {¶ 15} In the instant matter, the CSPO specifically ordered Sain-Dunham not to

enter P.D.’s residence, including the building, grounds, and parking lots, not to interfere

with P.D.’s right to occupy the residence, to stay away from P.D. and not be present within

500 feet of her, and not to initiate or have any contact with P.D. or her residence. Sain-

Dunham acknowledged his receipt of the protection order despite claiming that the order

reflected the wrong name. When pressed by the trial court on his claim that the name was

wrong, he admitted he understood that the order was directed at him.

      {¶ 16} The record demonstrates that Sain-Dunham violated several sections of the

CSPO by entering the grounds of P.D.’s residence, living on her back patio, by being

within 500 feet of P.D. or any place he knew or should have known that she was likely to

be, and by generally having contact with P.D.’s residence. Sain-Dunham admitted that

P.D. lived at the house and that he never had a key to or slept at the house, but he

nonetheless returned to the property because he had nowhere else to go and could not

afford to pay rent elsewhere. Even if Sain-Dunham was on the deed to the property as a

part owner, he was not permitted to return to the property while the protection order
                                                                                         -7-


against him remained in place as long as it was P.D.’s residence. Under these

circumstances, the record does not support a conclusion that the trial court lost its way in

arriving at its verdict and created such a manifest miscarriage of justice that Sain-

Dunham’s conviction must be reversed and a new trial ordered. Thus, Sain-Dunham’s

conviction for violating a protection order was not against the manifest weight of the

evidence.

       {¶ 17} Similarly, the record does not support a conclusion that the trial court lost

its way and created a manifest miscarriage of justice in convicting Sain-Dunham of

disorderly conduct.   It is undisputed that Sain-Dunham was screaming and yelling rude

and abusive statements at the officers during his arrest. In several sections of the

responding officers’ body camera and cruiser camera videos, Sain-Dunham could be

heard yelling at the officers and using profanity and abusive language toward them,

making their jobs more difficult and creating an annoyance. Although he claimed that he

was screaming due to pain, he also admitted that he made the offensive statements

because the officers wanted to “criminalize” him and were not giving him consideration.

Thus, we cannot say Sain-Dunham’s conviction for disorderly conduct was against the

manifest weight of the evidence.

       {¶ 18} Sain-Dunham’s sole assignment of error is overruled.

                                       III.   Conclusion

       {¶ 19} The judgment of the trial court is affirmed.

                                     .............
                                       -8-


EPLEY, P.J. and WELBAUM, J., concur.
